CaSe 2:05-cV-02281-.]PI\/|-de Document 7 Filed 06/03/05 Page 1 of 4 Page|D 1

IN THE UNITED sTATEs DIsTRIcT coURtL1
FoR THE WESTERN DISTRICT oF TENNESSEE 05
wEsTERN DIvIsIoN JUH`3 AH 6: 51

 

 

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DRK. J.S. olsT_ m

wALTER McGHEE, II - - OF Tf‘, me,'c

Plaintiff,

v. No. 05-2281 Ml/V
THOMAS E. HANSOM, JEAN E.
MARKOWITZ, OFFICER P. BOYCE,
OFFICER H. MOSS, CAUSEY &
HAYWOOD, PLLC,

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Defendants.

 

ORDER TO SHOW CAUSE

 

Before the Court is the Motion to Dismiss and/or in the
Alternative for Summary Judgment of Defendant Markowitz, filed
April 19, 2005. Under Local Rule 7.2(a)(2) and Federal Rule of
Civil Procedure 6, a response to that motion was due on or before
May 23, 2005. Also before the Court is the Motion to Dismiss by
Defendants Boyce and Moss, filed April 22, 2005. Under Local
Rule 7.2(a)(2) and Federal Rule of Civil Procedure 6, a response
to that motion was due on or before May 25, 2005. To date,
Plaintiff has not filed a response to either motion.

Accordingly, Plaintiff is hereby ORDERED to SHOW CAUSE within ten
(lO) days of the date of entry of this Order why Defendants’

motions should not be granted.1

 

1 To comply with this Order, Plaintiff must file a written
response to Defendants' motions.

Tl»is document entered on the docket sheet In compllance
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Failure to respond to this Order to Show Cause in a timely

manner may result in a judgment in favor of Defendants on the

motions.

So ORDERED this §§ day of June, 2005.
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JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02281 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

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Honorable J on McCalla
US DISTRICT COURT

